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 1                                  UNITED STATES DISTRICT COURT

 2                           FOR THE EASTERN DISTRICT OF CALIFORNIA

 3    UNITED STATES OF AMERICA,                       No. 1:23-mj-00053 SKO

 4                                Plaintiff,          UNSEALING ORDER

 5                      v.
      JUAN BANDA JR., and
 6    ARTHUR GARCIA

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10         For good cause shown, IT IS HEREBY ORDERED THAT:

11         The Complaint (including Affidavit) in the above-captioned case is unsealed. The Government

12 alerted the Court that upon defendant BANDA’s arrest, which has now occurred, the basis for the

13 sealing request was no longer an issue.

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     5/19/2023
16   DATED                                                  SHEILA K. OBERTO
                                                            UNITED STATES MAGISTRATE JUDGE
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